                      NOTICE: NOT FOR OFFICIAL PUBLICATION.
  UNDER ARIZONA RULE OF THE SUPREME COURT 111(c), THIS DECISION IS NOT PRECEDENTIAL
                  AND MAY BE CITED ONLY AS AUTHORIZED BY RULE.




                                     IN THE
              ARIZONA COURT OF APPEALS
                                 DIVISION ONE


                      LARRY FLORES, Plaintiff/Appellant,

                                         v.

     CITY OF PHOENIX POLICE DEPARTMENT, Defendant/Appellee.

                              No. 1 CA-CV 23-0672
                               FILED 08-27-2024

            Appeal from the Superior Court in Maricopa County
                           No. CV2023-004394
                  The Honorable Jay R. Adleman, Judge

                                   AFFIRMED


                                    COUNSEL

Larry Flores, Chandler
Plaintiff/Appellant

Office of the Phoenix City Attorney, Phoenix
By Jody C. Corbett, Karen Stillwell
Counsel for Defendant/Appellee
                          FLORES v. PHOENIX
                          Decision of the Court



                      MEMORANDUM DECISION

Presiding Judge Brian Y. Furuya delivered the decision of the Court, in
which Judge James B. Morse Jr. and Judge David D. Weinzweig joined.


F U R U Y A, Judge:

¶1           Larry Flores appeals the superior court’s dismissal of his
complaint against the Phoenix Police Department (the “Department”). For
the following reasons, we affirm.

                FACTS AND PROCEDURAL HISTORY

¶2            We assume the truth of the well-pleaded facts in Flores’
complaint and reasonable inferences drawn from those facts. See Satamian
v. Great Divide Ins. Co., 257 Ariz. 136, 140 ¶ 10 (2024).

¶3            On June 24, 2022, Phoenix police officers responded to a 9-1-1
call about a car stalled at an intersection and found the driver, Flores,
“passed out” inside the car. After ordering Flores to exit, the officers
arrested him and searched the car. Officers’ body cameras recorded most of
the event. Flores does not allege, nor does the record show, any charges
against him from the arrest.

¶4            On March 17, 2023—266 days after his arrest—Flores filed a
notice of claim with the City of Phoenix. In this notice, he requested
$5,000,000 to settle but did not explain the damages or allege any facts
supporting the requested amount. Five days later, he filed his complaint
naming the Department and six individual officers as defendants. Flores
served the complaint on the City of Phoenix Clerk but not on the individual
officers.

¶5            The notice of claim and complaint include the same
information characterizing the June 2022 arrest, generally alleging Phoenix
police officers have been following and harassing Flores since his arrest.
Flores did not, however, include any dates or describe particular instances
of harassment. The complaint does not reference any legal authority and
describes no demand for relief. Additionally, the complaint notes Flores did
not get the body-camera footage until December 19, 2022.




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                           Decision of the Court

¶6             The Department moved to dismiss the complaint arguing: (1)
Flores did not comply with the notice of claim statute; (2) the Department
is a non-jural entity; (3) the Department is immune from simple negligence
claims; and (4) the complaint failed to state a claim for which relief can be
granted. The Department served the motion on Flores via email on April
14, 2023, and U.S. mail on April 17. About one month later, the court
summarily granted the uncontested motion, finding the motion
“provide[d] a legal and factual basis for the relief requested.” Flores did not
receive the ruling because the court used the wrong mailing address.

¶7            On June 6, Flores filed a response to the motion to dismiss—
50 days after the Department mailed the motion to Flores. In the response,
Flores explained “at that time [he] had no knowledge of how to file a suit,
the process was all new to him,” and he “had to do a lot [of] research on
how to file paperwork properly.” The court ruled his response was
untimely and deemed it moot.

¶8            We have jurisdiction over Flores’ timely appeal under Article
6, Section 9 of the Arizona Constitution and Arizona Revised Statutes
(“A.R.S.”) §§ 12-120.21(A)(1) and -2101(A)(1).

                               DISCUSSION

¶9            Generally, opposing parties have ten days after receiving a
motion to file their response. Ariz. R. Civ. P. 7.1(a)(3). A court may
summarily grant a motion to dismiss when the non-moving party does not
timely respond and the motion provides a legal and factual basis for
dismissal. See Ariz. R. Civ. P. 7.1(b)(2); Zimmerman v. Shakman, 204 Ariz. 231,
237 ¶ 21 (App. 2003). Ignorance does not excuse noncompliance with
procedural rules. See Flynn v. Campbell, 243 Ariz. 76, 84 ¶ 25 (2017). We
review the grant of a motion to dismiss under Arizona Rule of Civil
Procedure 7.1 for an abuse of discretion. Strategic Dev. &amp; Constr., Inc. v. 7th
&amp; Roosevelt Partners, LLC, 224 Ariz. 60, 64–65 ¶¶ 16–17 (App. 2010).

I.     Flores Failed to File a Timely Response to the Department’s
       Motion to Dismiss.

¶10           Flores admits he received the Department’s motion to dismiss
but argues his failure to respond was due to his low education level and
inexperience with civil court procedures. He otherwise contends his
complaint was dismissed because of a “loss of communication,” which
appears to reference the court using a wrong mailing address when sending
him a copy of the dismissal order. But Flores’ response to the motion to



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                            Decision of the Court

dismiss was due before the court issued its ruling, so any delay in his receipt
of the ruling did not prohibit his timely response. Accordingly, the court
did not abuse its discretion in summarily dismissing Flores’ complaint for
his failure to respond timely.

II.    The Court Did Not Abuse its Discretion by Granting the
       Department’s Motion to Dismiss.

¶11            To bring a claim against a public entity, plaintiffs must, within
180 days “after the cause of action accrues,” file a notice of claim containing
“facts sufficient to permit the public entity . . . to understand the basis on
which liability is claimed” and “a specific amount for which the claim can
be settled and the facts supporting that amount.” A.R.S. § 12-821.01(A).
Plaintiffs must strictly comply with A.R.S. § 12-821.01, including its
statutory time limit. Falcon ex rel. Sandoval v. Maricopa Cnty., 213 Ariz. 525,
527 ¶ 10 (2006).

¶12           A cause of action accrues when “a reasonable person would
have been on notice to investigate.” Cruz v. City of Tucson, 243 Ariz. 69, 72
¶ 8 (App. 2017) (quoting Walk v. Ring, 202 Ariz. 310, 316 ¶ 24 (2002)). And
plaintiffs need not know all the underlying facts of their claim or have
conclusive knowledge of the claims against a certain party. Id. Nor must a
plaintiff complete an investigation to find all the facts needed to support a
complaint before filing a notice of claim. Humphrey v. State, 249 Ariz. 57, 65
¶¶ 27–28 (App. 2020). And though the accrual of a cause of action is
typically a question reserved for factfinders, we may decide the issue as a
matter of law if the record unquestionably shows when the plaintiff knew
or should have known of the facts underlying the claim. Id. at 64 ¶¶ 24–25.

¶13            The Department argues Flores’ claims accrued during his
arrest on June 24, 2022. Flores responds by explaining he did not know
about the filing deadlines and argues that he needed the body camera
footage to ensure the validity of his claims. Yet Flores does not argue he
was not aware of the events of the arrest as they transpired. Thus, he had
notice on the date of his arrest as to the alleged misconduct by the police
officers. Because the record shows, and Flores admits, he knew or should
have known of the facts underlying his claim by June 24, 2022, we hold as
a matter of law, that his arrest-related claims accrued when he was arrested.
See id. Therefore, because Flores filed his notice of claim more than 180 days
after his arrest, his arrest-related claims are barred under A.R.S. § 12-821.01.

¶14           And even assuming, arguendo, any of Flores’ claims survived
the deficient notice of claim, his complaint failed to state a claim upon



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                          Decision of the Court

which relief can be granted. See Ariz. R. Civ. P. 12(b)(6). Though the
complaint describes events, it contains no demand for relief, monetary or
otherwise. See Ariz. R. Civ. P. 8(a)(3) (pleading must include “a demand for
the relief sought”).

¶15           Because these issues are dispositive, we need not address the
other issues raised by the Department. See Sierra Club-Grand Canyon Chapter
v. Ariz. Corp. Comm’n, 237 Ariz. 568, 573 ¶ 14 (App. 2015) (finding
dispositive holding on one issue renders it unnecessary to address other
issues). Therefore, the court did not abuse its discretion by dismissing
Flores’ complaint after Flores failed to respond to the Department’s legally
and factually supported motion to dismiss. See Zimmerman, 204 Ariz. at 237
¶ 21.

                             CONCLUSION
¶16          We affirm.




                          AMY M. WOOD • Clerk of the Court
                          FILED: AGFV




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